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OUTOBER 1%, 202

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ENCLOSEP PLEASE FIND A COPY OF MY LEGAL PACKET ® |
LEGAL FACKST RZ | LETTERS C34) , CONSR LENIGH ; ANO PRIDE
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U.S. DISTRICT CO JRI WN 1D. OF NY.

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John M. Domiurad, Clerk - Albany

 

 

 

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